  Case 1:20-cv-02343-VM Document 6 Filed 10/15/20 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------X                             10/15/2020
MARION KALTER                   :
                                :
                 Plaintiff,     :               20 Civ. 2343(VM)
                                :
          -against-             :                CONDITIONAL
                                :         ORDER OF DISCONTINUANCE
                                :            WITHOUT PREJUDICE
 NTS Live LLC,                  :
                                :
                                :
                 Defendant.     :
---------------------------------X
VICTOR MARRERO, U.S.D.J.:

     The parties having notified the Court, by letter dated

October 14, 2020, that they have reached a settlement in

principle on all issues, it is hereby

     ORDERED that this action be conditionally discontinued

without prejudice and without costs; provided, however, that

within thirty days of the date of this Order, the parties may

submit to the Court their own Stipulation of Dismissal for the

Court to So Order. Otherwise, within such time plaintiffs may

apply by letter for restoration of the action to the active

calendar of this Court in the event by the deadline indicated

the settlement is not consummated. Upon such notification, the

defendants   shall   continue   to   be   subject   to   the    Court's

jurisdiction, the Court shall promptly reinstate the action and

any pending motions to its active docket, and the parties shall

be directed to appear before the Court, without the necessity

of additional process, on a date within ten days of the

                                 1
  Case 1:20-cv-02343-VM Document 6 Filed 10/15/20 Page 2 of 2



plaintiffs'   application     for       reinstatement,   to   schedule

remaining pre-trial proceedings and/or dispositive motions, as

appropriate. This Order shall be deemed a final discontinuance

of the action with prejudice in the event plaintiffs have not

requested restoration of the case to the active calendar within

such period of time.

     The Clerk of Court is directed to terminate any pending

motions and to close this case.

SO ORDERED:

Dated:    New York, New York
          15 October 2020


                                           _______________________
                                                 Victor Marrero
                                                   U.S.D.J.




                                    2
